Case 1:25-cv-01464-BMC       Document 17-1   Filed 03/24/25   Page 1 of 23 PageID #: 169




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NEW YORK

   HAITIAN EVANGELICAL CLERGY
   ASSOCIATION; SERVICE
   EMPLOYEES INTERNATIONAL
   UNION – LOCAL 32BJ; SABINA BADIO
   FLORIAL; YOUDELAINE DORCIN;
   ROBERT JEAN ALIX ERINAC;                    Case No. 1:25-cv-01464-BMC
   RACHELLE GUIRAND; DIEU
   YOLNICK JEUNE CADET; AUDOINE
   AMAZAN; GERALD MICHAUD;                     ORAL ARGUMENT REQUESTED
   NADEGE JOSEPH MICHAUD; and
   MARIE WILDRIGUE ERINAC MIOT,

               Plaintiffs,

               v.

   DONALD J. TRUMP, President of the
   United States of America; UNITED
   STATES OF AMERICA; THE
   DEPARTMENT OF HOMELAND
   SECURITY; and KRISTI NOEM,
   Secretary of Homeland Security,

               Defendants.


                   MEMORANDUM OF LAW IN SUPPORT OF
           PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
Case 1:25-cv-01464-BMC                      Document 17-1                   Filed 03/24/25              Page 2 of 23 PageID #: 170




                                                     TABLE OF CONTENTS

  TABLE OF CONTENTS .................................................................................................................i
  TABLE OF AUTHORITIES.......................................................................................................... ii
  INTRODUCTION ...........................................................................................................................1
  STATEMENT OF UNDISPUTED FACTS....................................................................................3
             A.     The TPS statute imposes temporal limits and procedural requirements on the
                    termination of a country’s TPS designation. ..............................................................3
             B.     Haiti has been designated for TPS since 2010. ..........................................................4
             C.     Secretary Noem prematurely terminated Haiti’s designation.....................................6
             D.     The premature termination of Haiti’s TPS designation harms Plaintiffs. ..................6
  LEGAL STANDARD .....................................................................................................................7
  ARGUMENT ..................................................................................................................................8
  I.        There is no dispute as to material facts................................................................................8
  II.       Secretary Noem’s premature termination of Haiti’s TPS designation is ultra vires. ..........8
             A.     Secretary Noem lacks statutory authority to prematurely terminate a TPS
                    designation..................................................................................................................8
             B.     Secretary Noem lacks inherent authority to prematurely terminate a TPS
                    designation..................................................................................................................9
  III.      The Secretary’s unlawful termination of Haiti’s TPS designation is reviewable under the
            Administrative Procedure Act. ..........................................................................................11
             A.     Section 1252(f)(1) does not limit this Court’s authority to set aside the unlawful
                    termination................................................................................................................12
             B.     Section 1254a(b)(5)(A) does not limit this Court’s authority to set aside the
                    unlawful termination. ...............................................................................................14
  CONCLUSION .............................................................................................................................16




                                                                        i
Case 1:25-cv-01464-BMC                     Document 17-1                   Filed 03/24/25           Page 3 of 23 PageID #: 171




                                                 TABLE OF AUTHORITIES

  Cases

  Am. Methyl Corp. v. EPA,
    749 F.2d 826 (D.C. Cir. 1984)...............................................................................................9, 11

  Bennett v. Spear,
    520 U.S. 154 (1997) ..................................................................................................................12

  Biden v. Texas,
    597 U.S. 785 (2022) ..................................................................................................................13

  Bookman v. United States,
    453 F.2d 1263 (Ct. Cl. 1972).....................................................................................................10

  Brooklyn Heights Ass’n, Inc. v. Nat’l Park Serv.,
    777 F. Supp. 2d 424 (E.D.N.Y. 2011) .......................................................................................10

  CASA de Maryland, Inc. v. Trump,
    355 F. Supp. 3d 307 (D. Md. 2018)...........................................................................................16

  Centro Presente v. U.S. Dep’t of Homeland Sec.,
    332 F. Supp. 3d 393 (D. Mass. 2018)........................................................................................16

  Chao v. Russell P. Le Frois Builder, Inc.,
    291 F.3d 219 (2d Cir. 2002) ........................................................................................................9

  China Unicom (Ams) Operations Ltd. v. FCC,
    124 F.4th 1128 (9th Cir. 2024) ..................................................................................................11

  Civil Aeronautics Bd. v. Delta Air Lines Inc.,
    367 U.S. 316 (1961) ..................................................................................................................11

  FCC v. NextWave Pers. Commc’ns Inc.,
    537 U.S. 293 (2003) ..................................................................................................................11

  Florida v. United States,
    660 F. Supp. 3d 1239 (N.D. Fla. 2023) .....................................................................................13

  Garland v. Aleman Gonzalez,
    596 U.S. 543 (2022) ............................................................................................................12, 13

  Gorbach v. Reno,
    219 F.3d 1087 (9th Cir. 2000) .....................................................................................................9

  Ivy Sports Med., LLC v. Burwell,
     767 F.3d 81 (D.C. Cir. 2014).................................................................................................9, 10


                                                                      ii
Case 1:25-cv-01464-BMC                       Document 17-1                    Filed 03/24/25            Page 4 of 23 PageID #: 172




  Kapoor v. U.S. Citizenship & Immigr. Servs.,
    2025 WL 253301 (E.D.N.Y. 2025) .............................................................................................7

  Kidd v. Mayorkas,
    734 F. Supp. 3d 967 (C.D. Cal. 2024) .......................................................................................13

  Lujan v. Defs. of Wildlife,
    504 U.S. 555 (1992) ....................................................................................................................8

  Macktal v. Chao,
   286 F.3d 822 (5th Cir. 2002) .................................................................................................9, 10

  N. Air Cargo v. U.S. Postal Serv.,
    674 F.3d 852 (D.C. Cir. 2012)...................................................................................................14

  Nat. Res. Def. Council v. Regan,
    67 F.4th 397 (D.C. Cir. 2023)....................................................................................................11

  Noroozi v. Napolitano,
    905 F. Supp. 2d 535 (S.D.N.Y. 2012) .........................................................................................8

  Ramos v. Nielsen ,
    321 F. Supp. 3d 1083 (N.D. Cal. 2018).....................................................................................16

  R.J. Reynolds Tobacco Co. v. FDA,
    696 F.3d 1205 (D.C. Cir. 2012).................................................................................................14

  Reno v. Am.-Arab Anti-Discrimination Comm.,
    525 U.S. 471 (1999) ..................................................................................................................13

  Saget v. Trump,
    375 F. Supp. 3d 280 (E.D.N.Y. 2019) ...................................................................................5, 16

  State v. Trump,
    2025 WL 573771 (S.D.N.Y. 2025) ...........................................................................................12

  Texas v. United States,
    40 F.4th 205 (5th Cir. 2022) ......................................................................................................14

  Texas v. United States,
    50 F.4th 498 (5th Cir. 2022) ................................................................................................13, 14

  Statutes

  5 U.S.C. § 702 ...............................................................................................................................12

  5 U.S.C. § 704 ...............................................................................................................................12

  5 U.S.C. § 706(2)...........................................................................................3, 8, 11, 13, 14, 15, 16

                                                                        iii
Case 1:25-cv-01464-BMC                       Document 17-1                   Filed 03/24/25             Page 5 of 23 PageID #: 173




  5 U.S.C. § 706(2)(A) .......................................................................................................................3

  5 U.S.C. § 706(2)(C) .................................................................................................................3, 15

  5 U.S.C. § 706(2)(D) .....................................................................................................................16

  8 U.S.C. § 1252(f)(1).........................................................................................................12, 13, 14

  8 U.S.C. § 1254a(a)(1)(A) ...............................................................................................................4

  8 U.S.C. § 1254a(a)(2) ....................................................................................................................7

  8 U.S.C. § 1254a(b)(1) ........................................................................................................4, 15, 16

  8 U.S.C. § 1254a(b)(1)(B) .........................................................................................................3, 14

  8 U.S.C. § 1254a(b)(1)(C) .........................................................................................................4, 14

  8 U.S.C. § 1254a(b)(2) ....................................................................................................................4

  8 U.S.C. § 1254a(b)(3) ................................................................................................................8, 9

  8 U.S.C. § 1254a(b)(3)(A).......................................................................................4, 10, 14, 15, 16

  8 U.S.C. § 1254a(b)(3)(B) .......................................................................................3, 4, 6, 9, 10, 15

  8 U.S.C. § 1254a(b)(3)(C) ...............................................................................................................4

  8 U.S.C. § 1254a(b)(5)(A).................................................................................................14, 15, 16

  8 U.S.C. § 1254a(c)(1)(A) ...............................................................................................................4

  8 U.S.C. § 1254a(c)(1)(B) ...............................................................................................................4

  Homeland Security Act of 2002,
    Pub. L. 107-296, 116 Stat. 2135 (Nov. 25, 2002) .....................................................................10

  Homeland Security Act of 2002 Amendments Act,
    Pub. L. 108-7, 117 Stat. 11 (Feb. 20, 2003) ..............................................................................10

  Rules

  Fed. R. Civ. P. 56(a) ........................................................................................................................7

  Regulations

  8 C.F.R. § 244.2...............................................................................................................................4

  75 Fed. Reg. 3476 (Jan. 21, 2010)...................................................................................................4

                                                                        iv
Case 1:25-cv-01464-BMC                     Document 17-1                 Filed 03/24/25            Page 6 of 23 PageID #: 174




  76 Fed. Reg. 29000 (May 19, 2011)................................................................................................5

  77 Fed. Reg. 59943 (Oct. 1, 2012) ..................................................................................................5

  79 Fed. Reg. 11808 (Mar. 3, 2014) .................................................................................................5

  80 Fed. Reg. 51582 (Aug. 25, 2015) ...............................................................................................5

  86 Fed. Reg. 41863 (Aug. 3, 2021) .............................................................................................5, 6

  88 Fed. Reg. 5022 (Jan. 26, 2023)...............................................................................................5, 6

  89 Fed. Reg. 54484 (July 1, 2024) ..........................................................................................5, 6, 8

  90 Fed. Reg. 10511 (Feb. 24, 2025) ............................................................................6, 8, 9, 12, 15

  Other Authorities

  Haiti swears in new leader among din of gang violence,
    VOICE OF AMERICA (March 7, 2025), https://www.voanews.com/a/haiti-swears
    -in-new-leader-amid-din-of-gang-violence/8003126.html..........................................................1

  Caitlin Stephen Hu et al., FAA grounds all US flights to Haiti after three planes were
    struck by gunfire,
    CNN (Nov. 12, 2024), https://www.cnn.com/2024/11/11/americas/haiti-spirit-
    airlines-jetblue-intl-latam/index.html ..........................................................................................1

  Fredlyn Pierre Louis, Haitian immigrants grapple with uncertainty as TPS end date looms,
    NBC News (March 8, 2025), https://www.nbcnews.com/news/nbcblk/haitian-
    immigrants-grapple-uncertainty-tps-end-date-looms-rcna193868..............................................1

  U.S. Dep’t of State, Travel Advisory: Haiti, (Sept. 18, 2024),
    https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/
    haiti-travel-advisory.html ........................................................................................................2, 6

  U.S. Dep’t of State, U.S. Relations with Haiti (Jan. 20, 2025),
    https://www.state.gov/u-s-relations-with-haiti/ ...........................................................................6

  U.S. Embassy in Haiti, Information for Travelers,
    https://ht.usembassy.gov/u-s-citizen-services/local-resources-of-u-s-citizens/information
    -for-travelers/#:~:text=Political%20violence%20and%20violent%20crimes,%2Dau%2
    DPrince%20international%20airport...........................................................................................2




                                                                     v
Case 1:25-cv-01464-BMC          Document 17-1          Filed 03/24/25    Page 7 of 23 PageID #: 175




                                         INTRODUCTION

         The individual Plaintiffs are Haitians lawfully living and working in the United States.

  They are entitled to live and work here because Haiti has been designated for Temporary Protected

  Status under 8 U.S.C. § 1254a. They may stay and work as long as that designation is in effect.

         This motion presents a narrow question of statutory interpretation: Does the Secretary of

  Homeland Security have authority to prematurely terminate a country’s designation for Temporary

  Protected Status? The answer is no—the statute expressly prohibits premature termination.

         Although narrow, the question has life-and-death consequences.

         Haiti is a nation in chaos. Violent gangs control “85% of Port-au-Prince,” Haiti’s capital

  city.1 In 2024 alone, “[m]ore than 5,600 people were killed and 1,400 were kidnapped amid gang

  conflicts.”2 In November 2024, the Federal Aviation Administration grounded all flights from the

  United States to Haiti “after three jets from US-based airlines were struck by bullets while flying

  over” Port-au-Prince.3 “The violence has rendered 1 million people homeless … forcing many into

  makeshift shelters and exacerbating the country’s economic challenges.” 4 Even ignoring this

  pervasive violence, Haiti is a country in dire straits. Its infrastructure devastated by a series of

  earthquakes and tropical storms, it suffers from a persistent lack of food, housing, and medical

  care. Recognizing this, the U.S. State Department advises American citizens to “not travel to Haiti

  due to kidnapping, crime, civil unrest, and limited health care,” noting that “[p]olitical violence


  1
      Haiti swears in new leader among din of gang violence, VOICE OF AMERICA (March 7, 2025),
  https://www.voanews.com/a/haiti-swears-in-new-leader-amid-din-of-gang-violence/8003126.html.
  2
      Fredlyn Pierre Louis, Haitian immigrants grapple with uncertainty as TPS end date looms,
  NBC NEWS (March 8, 2025), https://www.nbcnews.com/news/nbcblk/haitian-immigrants-
  grapple-uncertainty-tps-end-date-looms-rcna193868.
  3
      Caitlin Stephen Hu et al., FAA grounds all US flights to Haiti after three planes were struck
  by gunfire, CNN (Nov. 12, 2024), https://www.cnn.com/2024/11/11/americas/haiti-spirit-airlines-
  jetblue-intl-latam/index.html.
  4
      Pierre Louis, supra n.2.


                                                   1
Case 1:25-cv-01464-BMC           Document 17-1         Filed 03/24/25    Page 8 of 23 PageID #: 176




  and violent crimes are common in Haiti, including murders, kidnappings, robberies, assaults,

  vehicle break-ins, and home invasions.”5

         Due in large part to this mayhem, Haitians present in the United States have enjoyed

  Temporary Protected Status (“TPS”) since 2010, when a massive earthquake tipped the already

  struggling country into a full-blown crisis. TPS is an immigration status conferred on foreign

  nationals who—because of war, natural disaster, or other extraordinary conditions—cannot safely

  return to their home country. Foreign nationals present in the United States at the time of

  designation are entitled to TPS if the Secretary of Homeland Security designates their country of

  origin under the statute.

         TPS allows recipients to remain in the United States so long as their country’s designation

  remains in effect. When a country is designated for TPS, it is designated for a fixed period—a

  period that may be extended an unlimited number of times. The TPS statute establishes a specific

  procedure by which the Secretary may prospectively terminate a country’s TPS designation, but

  under no circumstances may the Secretary terminate a designation or an extended designation

  before it was originally set to expire.

         Given the country’s ongoing crisis, the Secretary has extended Haiti’s TPS designation

  repeatedly since 2010. The most recent extension—issued on July 1, 2024—was set to expire no

  sooner than February 3, 2026. But on February 24, 2025, the new Secretary of Homeland Security,

  Kristi Noem, prematurely terminated Haiti’s TPS designation effective August 3, 2025.

         The Secretary’s premature termination of Haiti’s TPS designation jeopardizes the lives of



  5
      Travel      Advisory:     Haiti,     U.S.     Dep’t      of    State     (Sept.     18,    2024),
  https://travel.state.gov/content/travel/en/traveladvisories/traveladvisories/haiti-travel-advisory.
  html; U.S. Embassy in Haiti, Information for Travelers, https://ht.usembassy.gov/u-s-citizen-
  services/local-resources-of-u-s-citizens/information-for-travelers/#:~:text=Political%20violence
  %20and%20violent%20crimes,%2Dau%2DPrince%20international%20airport.


                                                   2
Case 1:25-cv-01464-BMC           Document 17-1          Filed 03/24/25     Page 9 of 23 PageID #: 177




  Plaintiffs and hundreds of thousands of others by forcing them to return to the bedlam in Haiti.

         Although its implications are dire, the legal question raised by this motion is narrow: Does

  the Secretary have statutory authority to rescind a country’s TPS designation before that

  designation is set to expire? The plain text of the statute answers this narrow question: The

  Secretary lacks authority to prematurely terminate a country’s TPS designation because, even if

  the statutory termination process is followed, 8 U.S.C. § 1254a(b)(3)(B) prohibits termination of

  a TPS designation before “expiration of the most recent previous extension.”

         Secretary Noem did exactly what the statute prohibits; she terminated Haiti’s TPS

  designation before its previously fixed expiration date. Her action is “in excess of statutory …

  authority” and thus prohibited by the Administrative Procedure Act (“APA”). 5 U.S.C.

  §§ 706(2)(A), (C). This Court must therefore “set [it] aside” as “unlawful.” Id. § 706(2) (“[t]he

  reviewing court shall hold unlawful and set aside agency action” that is “in excess of statutory …

  authority”) (emphasis added).

                             STATEMENT OF UNDISPUTED FACTS

         A.      The TPS statute imposes temporal limits and procedural requirements on the
                 termination of a country’s TPS designation.

         TPS permits immigrants from designated countries to remain in the United States if certain

  statutory conditions are met. The Secretary of Homeland Security may designate a country for TPS

  if the Secretary finds that (1) there has been an “earthquake, flood, drought, epidemic, or other

  environmental disaster”; (2) the county is “unable, temporarily, to handle adequately the return”

  of nationals to the country; (3) the country requests TPS designation; or (4) “there exist

  extraordinary and temporary conditions in the” country that prevent its nationals from returning

  safely, “unless [the Secretary] finds that permitting the aliens to remain temporarily in the United

  States is contrary to the national interest of the United States.” 8 U.S.C. §§ 1254a(b)(1)(B)(i)–(iii),



                                                    3
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25             Page 10 of 23 PageID #:
                                            178



1254a(b)(1)(C). Although the decision to designate a country for TPS rests with the Secretary, the

decision may not be made arbitrarily or capriciously: the decision must be made in “consultation

with the appropriate agencies of the Government” and based on the statutorily specified criteria.

Id. § 1254a(b)(1). When the Secretary designates a country for TPS, the designation is for a fixed

period between 6 and 18 months. Id. § 1254a(b)(2).

       Once a country is designated for TPS, that country’s nationals who are physically present

in the United States may register with the Department of Homeland Security as TPS beneficiaries.

8 U.S.C. § 1254a(c)(1)(A)–(B); 8 C.F.R. § 244.2. TPS beneficiaries may not be deported and are

authorized to work in the United States so long as their home country’s designation remains in

place. 8 U.S.C. § 1254a(a)(1)(A).

       At least sixty days before the end of the period of the TPS designation, the Secretary, “after

consultation with appropriate agencies of the Government, shall review the conditions in the

foreign state … and shall determine whether the conditions for such designation … continue to be

met.” 8 U.S.C. § 1254a(b)(3)(A). After conducting this prereview, the Secretary may terminate or

extend the country’s designation. Id. § 1254a(b)(3)(B)–(C). The TPS designation may be extended

for 6 months, 12, or 18 months. Id. § 1254a(b)(3)(C). If the Secretary does not affirmatively

terminate a country’s designation, the designation is automatically extended for at least 6 months.

Id. If the Secretary decides to terminate a country’s TPS designation, the termination “shall not be

effective earlier than 60 days after the date the notice is published or, if later, the expiration of

the most recent previous extension.” Id. § 1254a(b)(3)(B) (emphasis added).

       B.      Haiti has been designated for TPS since 2010.

       Haiti was first designated for TPS in January 2010 after it experienced a devastating

earthquake. See 75 Fed. Reg. 3476 (Jan. 21, 2010). Since then, Haiti’s TPS designation has been

extended—and the country has been redesignated—multiple times due to both lingering harms


                                                 4
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25            Page 11 of 23 PageID #:
                                            179



from the 2010 earthquake, including widespread damage to infrastructure and public health, as

well as pre-existing conditions exacerbated by the earthquake, such as food insecurity and a lack

of housing. See 76 Fed. Reg. 29000 (May 19, 2011); 77 Fed. Reg. 59943 (Oct. 1, 2012); 79 Fed.

Reg. 11808 (Mar. 3, 2014); 80 Fed. Reg. 51582 (Aug. 25, 2015).

       In 2018, during his first term, President Trump attempted to unlawfully end Haiti’s TPS

designation. Characterizing the termination decision as “a pretextual edict,” this Court enjoined

that attempt, finding ample evidence that it was “arbitrary and capricious,” “not in accordance with

law,” and “motivated by discriminatory animus.” Saget v. Trump, 375 F. Supp. 3d 280, 345–47,

353, 368–69 (E.D.N.Y. 2019) (Kuntz, J.).

       During the Biden Administration, Haiti’s TPS designation was extended—and Haiti was

redesignated for TPS—multiple times by then-Secretary Mayorkas, who repeatedly concluded that

the statutory conditions for Haiti’s TPS designation continued to be met. See 86 Fed. Reg. 41863

(Aug. 3, 2021); 88 Fed. Reg. 5022 (Jan. 26, 2023); 89 Fed. Reg. 54484 (July 1, 2024). In 2021,

Secretary Mayorkas concluded that “Haiti is grappling with,” among other things, “a deteriorating

political crisis, violence, and a staggering increase in human rights abuses” in addition to “rising

food insecurity” and “a severe lack of healthcare services.” 86 Fed. Reg. at 41864–67. In 2023,

Secretary Mayorkas, reciting at length extensive evidence of Haiti’s deteriorating situation,

determined once again that “Haiti is experiencing economic, security, political, and health crises

simultaneously.” 88 Fed. Reg. at 5025. And finally, less than a year ago, in July 2024, Secretary

Mayorkas—citing political corruption, human-rights abuse, escalating gang violence, limited

health care, food insecurity, and the continuing impact of a destructive 2021 earthquake that was

quickly followed by a strong tropical storm—“determined” yet again “that an 18-month TPS

extension is warranted because the extraordinary and temporary conditions supporting Haiti’s TPS




                                                 5
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25             Page 12 of 23 PageID #:
                                            180



designation remain.” 89 Fed. Reg. at 54487. That extension, the most recent, extended Haiti’s TPS

designation through “February 3, 2026.” Id. at 54491.

       C.      Secretary Noem prematurely terminated Haiti’s designation.

       On February 24, 2025, Secretary Noem issued what she styled a “partial vacatur” of the

July 2024 extension that purports to terminate Haiti’s TPS designation 6 months early, “on August

3, 2025, instead of February 3, 2026.” 90 Fed. Reg. 10511, 10514–15 (Feb. 24, 2025). When doing

so, she did not—and, given 8 U.S.C. § 1254a(b)(3)(B), could not—rely on her statutory authority

to prematurely terminate Haiti’s TPS designation. Rather, she claimed to have exercised what she

characterized as her “inherent authority … to reconsider any TPS-related determination, and upon

reconsideration, to vacate or amend the determination.” 90 Fed. Reg. at 10514.

       D.      The premature termination of Haiti’s TPS designation harms Plaintiffs.

       The premature termination of Haiti’s TPS designation harms Plaintiffs in various ways.

Most obviously, it exposes them to deportation to Haiti, where they would encounter political

instability, rampant violence, human-rights abuse, inadequate medical care, insufficient housing,

and food insecurity. See 86 Fed. Reg. at 41864–67; 88 Fed. Reg. at 5025; 89 Fed. Reg. at 54487;

see also Decl. of Marie Wildrigue Erinac Miot ¶¶ 16–29 (Ex. 1); Decl. of Youdelaine Dorcin

¶¶ 15–24 (Ex. 2). Indeed, recognizing the “humanitarian, security, and political crises” that

continue to grip Haiti, the State Department warns that people should “not travel to Haiti due to

kidnapping, crime, civil unrest, and limited health care.”6

       The premature termination of Haiti’s TPS designation, 6 months before it was scheduled

to expire, places immediate and extraordinary burdens on Plaintiffs beyond the risk of imminent

deportation. Suddenly, Plaintiffs have only half the time they previously had to prepare for possible

6
    U.S. Dep’t of State, U.S. Relations with Haiti, https://www.state.gov/u-s-relations-with-haiti/
(Jan. 20, 2025); Haiti Travel Advisory (Sept. 18, 2024), https://travel.state.gov/content/travel/en/
traveladvisories/traveladvisories/haiti-travel-advisory.html.


                                                 6
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25             Page 13 of 23 PageID #:
                                            181



repatriation. In that short amount of time, they must make arrangements to return to Haiti; locate

housing in which they can live upon their return; seek jobs with which they can support themselves

after returning; arrange medical care to treat existing conditions and those they are likely to

contract in Haiti; and secure reliable sources of food. See, e.g., Miot Decl. ¶¶ 18–23, 28–29; Dorcin

Decl. ¶¶ 19–22.

       Perhaps worst of all, Plaintiffs must now decide in a matter of months where their children,

many of whom are U.S. citizens, will live. They must make “an impossible choice” between taking

their children to Haiti, an impoverished country where their children “would immediately become

targets for kidnapping and murder,” or leaving them in the United States, where they “would not

be able to fend for themselves.” Miot Decl. ¶ 27. Not surprisingly, all of this has caused Plaintiffs

to experience tremendous stress and mental anguish. Miot Decl. ¶ 23; Dorcin Decl. ¶ 16.

       The premature termination of Haiti’s TPS designation means that within a few months the

individual Plaintiffs will be subject to arrest and incarceration pending removal from the U.S.

Moreover, even if not deported immediately upon expiration of Haiti’s TPS designation, Haitian

TPS holders will automatically lose their work authorization as of the date of termination—now

set for August 3, 2025. See 8 U.S.C. § 1254a(a)(2). Since TPS holders are not eligible for federal

assistance, loss of their work authorization would be catastrophic, leaving them with no way to

support themselves or their families. Miot Decl. ¶¶ 5, 7, 8, 16–17; Dorcin Decl. ¶¶ 14, 18.

                                      LEGAL STANDARD

       “A party may move for summary judgment” on all claims or a specific “part of [a] claim.”

Fed. R. Civ. P. 56(a). “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Id. “Where,” as here, “a party seeks review of agency action under the APA and ‘the entire

case on review is a question of law,’ summary judgment is appropriate.” Kapoor v. U.S. Citizenship


                                                 7
Case 1:25-cv-01464-BMC            Document 17-1 Filed 03/24/25            Page 14 of 23 PageID #:
                                              182



& Immigr. Servs., 2025 WL 253301, at *4 (E.D.N.Y. 2025) (quoting Noroozi v. Napolitano, 905

F. Supp. 2d 535, 541 (S.D.N.Y. 2012)).

                                            ARGUMENT

          Plaintiffs are entitled to judgment as a matter of law: the TPS statute expressly prohibits

Secretary Noem from prematurely terminating Haiti’s TPS designation.

     I.   There is no dispute as to material facts.

          Plaintiffs’ motion for partial summary judgment presents a pure question of law that

implicates no factual disputes. The motion rests on 8 U.S.C. § 1254a(b)(3), 90 Fed. Reg. 10511,

and 89 Fed. Reg. 54484, the content of which are not (and cannot) be disputed.7

    II.   Secretary Noem’s premature termination of Haiti’s TPS designation is ultra vires.

          The Secretary does not have statutory authority to prematurely terminate a country’s TPS

designation. Indeed, Secretary Noem does not contend otherwise. Instead, she claims to have

inherent authority to do so. But she does not. The statute explicitly prohibits premature termination

of a TPS designation. Accordingly, Secretary Noem’s “partial vacatur,” which prematurely

terminates Haiti’s TPS designation, is ultra vires. It must therefore be held “unlawful and set aside”

as such under the APA. 5 U.S.C. § 706(2).

          A.     Secretary Noem lacks statutory authority to prematurely terminate a TPS
                 designation.

          It is plain that 8 U.S.C. § 1254a does not authorize the Secretary to prematurely terminate

a TPS designation. To the contrary, it expressly prohibits termination of a country’s TPS


7
    Nor can there be any reasonable dispute over the individual Plaintiffs’ standing to sue. To have
standing, a plaintiff “must have suffered an ‘injury in fact’” that is “causal[ly] connect[ed]” to “the
conduct complained of” and would be “redressed by a favorable decision.” Lujan v. Defs. of
Wildlife, 504 U.S. 555, 560–61 (1992). Here, the individual Plaintiffs, who are Haitian TPS holders,
are suffering immediate and imminent injury as a result of the Secretary’s unlawful premature
termination of Haiti’s TPS designation (see supra at 6–7), and those injuries would be redressed
if her action were set aside.


                                                   8
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25              Page 15 of 23 PageID #:
                                            183



designation “earlier than 60 days after the date the notice is published or, if later, the expiration

of the most recent previous extension.” Id. § 1254a(b)(3)(B) (emphasis added). Implicitly

recognizing this, Secretary Noem does not claim to have exercised statutory authority when she

prematurely terminated Haiti’s TPS status effective August 3, 2025. Cf. 90 Fed. Reg. 10511.8

       B.      Secretary Noem lacks inherent authority to prematurely terminate a TPS
               designation.

       Rather than rely on statutory authority, Secretary Noem claims to have “inherent authority

to reconsider” the July 1, 2024, extension of Haiti’s TPS designation. 90 Fed. Reg. at 10514 &

n.32 (quoting Macktal v. Chao, 286 F.3d 822, 825–26 (5th Cir. 2002)). She does not.

       Contrary to the Secretary’s assertions, “[t]here is no general principle that what [an agency]

can do, [it] can undo.” Gorbach v. Reno, 219 F.3d 1087, 1095 (9th Cir. 2000) (en banc) (Attorney

General lacked inherent authority to denaturalize people granted citizenship in error). Indeed, cases

that she cites in the termination notice (cf. 90 Fed. Reg. at 10514 n.32) defeat her claim of inherent

authority to prematurely terminate a TPS designation. As those cases recognize, an agency might

have inherent authority to revisit its prior decisions under certain circumstances but only “in the

absence of a specific statutory limitation.” Macktal, 286 F.3d at 825–26; accord Ivy Sports Med.,

LLC v. Burwell, 767 F.3d 81, 86 (D.C. Cir. 2014) (Kavanaugh, J.) (“any inherent reconsideration

authority does not apply in cases where Congress has spoken”) (citing Am. Methyl Corp. v. EPA,

749 F.2d 826 (D.C. Cir. 1984)). As the Second Circuit has held, there may be instances in which

agencies can simply vacate a prior decision, “but not where there is ‘contrary legislative intent or

other affirmative evidence.’” Chao v. Russell P. Le Frois Builder, Inc., 291 F.3d 219, 229 n.9 (2d


8
    As discussed below (see infra at 10), 8 U.S.C. § 1254a(b)(3) establishes a procedure for
terminating a country’s TPS designation. Secretary Noem does not claim to have followed that
procedure. But even if she had followed that procedure, it would not change the fact that a TPS
designation may not be terminated before “expiration of the most recent previous extension.” Id.
§ 1254a(b)(3)(B).


                                                  9
Case 1:25-cv-01464-BMC           Document 17-1 Filed 03/24/25              Page 16 of 23 PageID #:
                                             184



Cir. 2002) (quoting Bookman v. United States, 453 F.2d 1263, 1265 (Ct. Cl. 1972)); accord

Brooklyn Heights Ass’n, Inc. v. Nat’l Park Serv., 777 F. Supp. 2d 424, 443 (E.D.N.Y. 2011).

       Here, “Congress has spoken.” Ivy Sports, 767 F.3d at 86. It imposed specific statutory

limitations—on both how and when—a Secretary may terminate a TPS designation. Procedurally,

Congress has established a specific process for terminating a country’s TPS designation:

       At least 60 days before end of the initial period of designation, and any extended
       period of designation, of a foreign state … under this section the [Secretary of
       Homeland Security], after consultation with appropriate agencies of the
       Government, shall review the conditions in the foreign state … for which a
       designation is in effect under this subsection and shall determine whether the
       conditions for such designation under this subsection continue to be met.

8 U.S.C. § 1254a(b)(3)(A).9 Thus, by statute, the Secretary must (1) consult with other agencies

and (2) make factual determinations with respect to conditions in the country before she may

terminate a country’s TPS designation. Temporally, Congress has explicitly limited when the

Secretary may terminate a country’s TPS designation: a termination “shall not be effective earlier

than 60 days after the date the notice [of termination] is published or, if later, the expiration of the

most recent previous extension.” Id. § 1254a(b)(3)(B).

       These “specific statutory limitation[s]” foreclose the Secretary’s assertion of inherent

authority to prematurely terminate Haiti’s TPS designation. Macktal, 286 F.3d at 825–26. As the

Ninth Circuit recently explained:

     An agency’s assertion of an implied general revocation authority may . . . be sharply
     limited, or even foreclosed, when the statutory structure negates that assertion of
     implied authority. That may be the case, for example, when there is a specific statutory
     process for altering an agency’s grant of a certificate, waiver, or other authorization.
     Where Congress has provided a particular mechanism, with specified procedures, for
     an agency to make such alterations, “it is not reasonable to infer” an implied authority
     that would allow an agency to circumvent those statutory procedural protections.

9
     Originally, Congress charged the Attorney General with administering the TPS statute. In 2002,
it transferred the responsibility to the Secretary of Homeland Security. See Homeland Security Act
of 2002, Pub. L. 107-296, 116 Stat. 2135, 2142–45, 2177–2212 (Nov. 25, 2002); Homeland
Security Act of 2002 Amendments Act, Pub. L. 108-7, 117 Stat. 11, 526–32 (Feb. 20, 2003).


                                                  10
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25              Page 17 of 23 PageID #:
                                            185



China Unicom (Ams) Operations Ltd. v. FCC, 124 F.4th 1128, 1149 (9th Cir. 2024) (citations

omitted). When statutes provide “specific instructions,” those instructions “are to be followed

scrupulously” and “should not be modified by resort to such generalities as ‘administrative

flexibility’ and ‘implied powers.’” Civil Aeronautics Bd. v. Delta Air Lines Inc., 367 U.S. 316, 325

(1961); see also Nat. Res. Def. Council v. Regan, 67 F.4th 397 (D.C. Cir. 2023) (agency lacks implicit

authority to rescind its decision to regulate a substance where, by statute, that conclusion triggered

a specific periodic review process); Am. Methyl Corp., 749 F.2d at 835 (agency lacks implicit

authority to revoke waiver permitting sale of fuel additive where statute established mechanism

for prohibiting sale of dangerous additives, including those “mistakenly waived into commerce”).

This constraint on agency authority is particularly strong when, as here, the statute authorizes the

agency to issue a license or benefit for a “fixed term” because it “reflects a clear temporal

expectation that, absent contrary indication in the statutory text, such a license will endure for the

length of that term.” China Unicom, 124 F.4th at 1148. Indeed, Congress’s “use of a fixed term is

… affirmatively inconsistent with … an implied power to revoke a license at any time.” Id.

III.   The Secretary’s unlawful termination of Haiti’s TPS designation is reviewable
       under the Administrative Procedure Act.

       The APA gives this Court the power—and duty—to review the legality of the Secretary’s

premature termination of Haiti’s TPS designation. Neither of the Secretary’s anticipated responses

alter that conclusion.

       The APA authorizes courts to review agency action. Declaring that a reviewing court “shall

… hold unlawful and set aside agency action” that it is “in excess of statutory … authority,”

“without observance of procedure required by law,” or “otherwise not in accordance with law” (5

U.S.C. § 706(2) (emphasis added)), the APA “requires” a reviewing court to set aside unlawful

agency action. FCC v. NextWave Pers. Commc’ns Inc., 537 U.S. 293, 300 (2003) (emphasis added).



                                                 11
Case 1:25-cv-01464-BMC            Document 17-1 Filed 03/24/25            Page 18 of 23 PageID #:
                                              186



Because the Secretary’s premature termination of Haiti’s TPS designation is ultra vires, it must be

set it aside.10

        Based on its recent filings in other cases challenging the unlawful termination of TPS

designations, Plaintiffs anticipate that the government will oppose set-aside under the APA on two

grounds, neither of which has merit.

        A.        Section 1252(f)(1) does not limit this Court’s authority to set aside the
                  unlawful termination.

        First, Plaintiffs expect the government to argue that “8 U.S.C. § 1252(f)(1) … bars such

relief.” Defs’ Resp. in Opp. to Plfs’ Mot. to Postpone Effective Date of Agency Action at 7, Nat’l

TPS Alliance v. Noem, Dkt. 60, No. 3:25-cv-01766 (N.D. Cal. Mar. 3, 2025). On the government’s

theory, this Court lacks authority to set aside the unlawful premature termination of Haiti’s TPS

designation under the APA because, supposedly, “no court (other than the Supreme Court) shall

have jurisdiction or authority to enjoin or restrain the operation of” 8 U.S.C. § 1254a. Id. at 7–8.

        But § 1252(f)(1) does not deprive this Court of authority to set aside the unlawful

premature termination of Haiti’s TPS designation under the APA.

        In contending otherwise, the government has pointed to Garland v. Aleman Gonzalez, 596


10
    The prerequisites for review under the APA are undeniably met here. An action for judicial
review may be filed by any person “adversely affected or aggrieved by agency action.” 5 U.S.C.
§ 702. There is no question that the individual Plaintiffs, Haitian TPS holders, are adversely
affected by the premature termination of Haiti’s TPS designation. See supra at 6–7. Review under
the APA is available for “final agency action for which,” as here, “there is no other adequate
remedy in a court.” Id. § 704. “For an agency action to be ‘final’ under the APA, two requirements
must be met.” State v. Trump, 2025 WL 573771, at *18 (S.D.N.Y. 2025).
        First, the action must mark the consummation of the agency’s decisionmaking
        process ... And second, the action must be one by which rights or obligations have
        been determined, or from which legal consequences will flow.
Id. (quoting Bennett v. Spear, 520 U.S. 154, 177–78 (1997)). Those requirements are met here:
The Secretary’s premature termination of Haiti’s TPS designation is the culmination of her
“reconsideration” of former-Secretary Mayorkas’s July 1, 2024 extension of that designation (90
Fed. Reg. at 10513), and legal consequences—indeed, dire legal consequences—will flow from it.


                                                  12
Case 1:25-cv-01464-BMC           Document 17-1 Filed 03/24/25              Page 19 of 23 PageID #:
                                             187



U.S. 543 (2022). Cf. Defs’ Resp. in Opp. to Plfs’ Mot. to Postpone Effective Date of Agency

Action at 8, Nat’l TPS Alliance. But, as Justice Sotomayor emphasized at the time, the Aleman

Gonzalez Court did “not purport to hold that § 1252(f)(1) affects courts’ ability to ‘hold unlawful

and set aside agency action, findings, and conclusions’ under the Administrative Procedure Act.”

Aleman Gonzalez, 596 U.S. at 571 (Sotomayor, J., concurring in part and dissenting in part)

(quoting 5 U.S.C. § 706(2)). Subsequently, Justices Barrett, Thomas, Alito, and Gorsuch likewise

recognized that Aleman Gonzalez “avoids a position on whether § 1252(f)(1) prevents a lower

court from vacating or setting aside an agency action under the Administrative Procedure Act.”

Biden v. Texas, 597 U.S. 785, 839 (2022).

       Since Aleman Gonzalez, courts have consistently held that Section 1252(f)(1) does not strip

a district court of authority to grant relief under the APA. As the Fifth Circuit has held,

“§ 1252(f)(1) does not apply to vacatur”—i.e., set-aside—under 5 U.S.C. § 706(2). Texas v. United

States, 50 F.4th 498, 528 (5th Cir. 2022); accord, e.g., Kidd v. Mayorkas, 734 F. Supp. 3d 967,

987 (C.D. Cal. 2024) (§ 1252(f)(1) inapplicable because vacating ICE policy neither “compels nor

restrains further agency decision-making”) (cleaned up); Florida v. United States, 660 F. Supp. 3d

1239, 1284–85 (N.D. Fla. 2023) (“§ 1252(f)(1) does not strip [the Court] of the authority to vacate

either of the challenged policies under the APA”). Indeed, “[t]he Supreme Court has cautioned

that, ‘[b]y its plain terms, and even by its title, [§ 1252(f)(1)] is nothing more or less than a limit

on injunctive relief.’” Texas, 50 F.4th at 528 (quoting Biden, 597 U.S. at 801, in turn quoting Reno

v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 481 (1999)). Limited to injunctions,

§ 1252(f)(1) says nothing about vacatur under the APA.

       There are “meaningful differences” between injunctions and vacatur under the APA. Texas,

50 F.4th at 528–29. In fact, vacatur is “a less drastic remedy” because, “[a]part from the




                                                  13
Case 1:25-cv-01464-BMC         Document 17-1 Filed 03/24/25             Page 20 of 23 PageID #:
                                           188



constitutional or statutory basis on which the court invalidated an agency action, vacatur neither

compels nor restrains further agency decision-making.” Id. (quoting Texas v. United States, 40

F.4th 205, 220 (5th Cir. 2022), rev’d on other grounds, 599 U.S. 670 (2023)). Moreover, once a

court has fulfilled its “obligation to ‘set aside’ [an] unlawful regulation,” injunctive relief is

ordinarily unnecessary. R.J. Reynolds Tobacco Co. v. FDA, 696 F.3d 1205, 1222 (D.C. Cir. 2012),

overruled on other grounds by Am. Meat Inst. v. U.S. Dep’t of Agric., 760 F.3d 18 (D.C. Cir. 2014).

In fact, it is “anomalous.” N. Air Cargo v. U.S. Postal Serv., 674 F.3d 852, 861 (D.C. Cir. 2012).

       In sum, § 1252(f)(1) does not preclude a set-aside under 5 U.S.C. § 706(2).

       B.      Section 1254a(b)(5)(A) does not limit this Court’s authority to set aside the
               unlawful termination.

       Nor is a set-aside foreclosed by 8 U.S.C. § 1254a(b)(5)(A). The government has argued

that even an unlawful termination of a country’s TPS designation is immune from challenge

because § 1254a(b)(5)(A) allows “no judicial review of any determination of the [Secretary of

Homeland Security] with respect to the designation, or termination or extension of a designation,

of a foreign state” for TPS. Defs’ Resp. in Opp. to Plfs’ Mot. to Postpone Effective Date of Agency

Action at 11, Nat’l TPS Alliance. But § 1254a(b)(5)(A) does not bar review of Secretary Noem’s

premature termination of Haiti’s TPS designation.

       The provision is narrowly circumscribed. It only bars review of a “determination” made by

the Secretary. The term “determination” has a specific meaning under § 1254a: it refers to a

substantive finding by the Secretary as to whether—given circumstances in the foreign country

and the United States’s national interest—“the conditions for [TPS] designation” are met or

“continue to be met.” 8 U.S.C. § 1254a(b)(3)(A); see also id. § 1254a(b)(1)(B)–(C).

       Here, the Secretary has made no such determination. She does not claim to have

“review[ed] the conditions in” Haiti or evaluated the “national interest of the United States,” let



                                                14
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25            Page 21 of 23 PageID #:
                                            189



alone “determined whether the conditions for [Haiti’s] designation … continue to be met.” 8 U.S.C.

§§ 1254a(b)(1), (b)(3)(A). Rather than make any substantive determinations with respect to the

conditions in Haiti or the national interest of the United States, Secretary Noem simply criticized

her predecessor’s most recent extension and redesignation decision. According to Secretary Noem,

“partial vacatur” of the July 1, 2024, extension and redesignation—which extended Haiti’s TPS

designation to February 3, 2026—was warranted because, in her view, it (1) contained “no

discussion … of why the 18-month period was selected”; (2) lacked “justification of why

permitting the ever-increasing population of Haitian TPS recipients … to remain temporarily in

the United States is not contrary to the U.S. national interest”; and (3) cited country conditions

reports that “date back to early 2023” or earlier. 90 Fed. Reg. at 10513–14. Despite her criticisms

of the July 1, 2024, extension and redesignation, Secretary Noem did not determine that it was

now possible for Haitian TPS holders to return to Haiti “in safety”; nor did she determine that the

presence of Haitian TPS holders is “contrary to the national interest.” 8 U.S.C. §§ 1254a(b)(1). Put

simply: the Secretary did not make a “determination” under the TPS statute and § 1254a(b)(5)(A)

is therefore no bar to setting her unlawful decision aside under 5 U.S.C. § 706(2).

       It would not matter if the Secretary had followed the statutory process for termination and

made the requisite determinations after consulting with other agencies. Determinations or not, she

simply cannot prematurely terminate a TPS designation. 8 U.S.C. § 1254a(b)(3)(B). That is

dispositive: the Secretary’s premature termination of Haiti’s TPS designation is “in excess of

statutory authority” and must therefore be “set aside.” 5 U.S.C. § 706(2)(C).

       Regardless, the Secretary did not follow—and does not claim to have followed—the

mandated termination procedure in this case. Cf. 90 Fed. Reg. 10511. She made no determination

as to “whether the conditions for [Haiti’s TPS] designation … continue to be met,” and did not




                                                15
Case 1:25-cv-01464-BMC          Document 17-1 Filed 03/24/25              Page 22 of 23 PageID #:
                                            190



consult with the “appropriate agencies of the Government” before prematurely terminating the

designation. 8 U.S.C. § 1254a(b)(3)(A). Thus, even if the Secretary were permitted to terminate a

TPS designation before its previously set expiration date, her premature termination of Haiti’s TPS

designation was “without observance of procedure required by law” and would have to be set aside

on that basis. 5 U.S.C. § 706(2)(D). This Court has previously held that although § 1254a(b)(5)(A)

might bar judicial review of the Secretary’s substantive determinations with respect to country

conditions and the national interest (cf. 8 U.S.C. §§ 1254a(b)(1), (b)(3)(A)), it does not prevent the

Court from setting aside agency action that is “procedurally deficient.” Saget, 375 F. Supp. 3d at

332; accord CASA de Maryland, Inc. v. Trump, 355 F. Supp. 3d 307, 321 (D. Md. 2018); Centro

Presente v. U.S. Dep’t of Homeland Sec., 332 F. Supp. 3d 393, 409 (D. Mass. 2018); Ramos v.

Nielsen, 321 F. Supp. 3d 1083, 1101–08 (N.D. Cal. 2018), vacated sub nom. by Ramos v. Wolf,

975 F.3d 872 (9th Cir. 2020), vacated, 59 F.4th 1010 (9th Cir. 2023) (granting en banc rehearing),

appeal dismissed 2023 WL 4363667 (9th Cir. 2023).

       In short, 8 U.S.C. § 1254a(b)(5)(A) neither strips this Court of jurisdiction to review the

Secretary’s action nor relieves it of its obligation to “hold unlawful and set aside” that action as

“in excess of statutory authority.” 5 U.S.C. § 706(2).

                                          CONCLUSION

       Summary judgment should be entered in favor of Plaintiffs on their claim that Secretary

Noem’s premature termination of Haiti’s TPS designation is unlawful, and the February 24, 2025,

“partial vacatur” should be set aside.

March 24, 2025                                           Respectfully submitted,

                                                         /s/ Andrew Tauber
                                                         Andrew Tauber

     Ira J. Kurzban                                      Andrew E. Tauber
     Kevin Gregg*                                        Sarah Levine Hartley*


                                                 16
Case 1:25-cv-01464-BMC      Document 17-1 Filed 03/24/25          Page 23 of 23 PageID #:
                                        191



    KURZBAN, KURZBAN, TETZELI & PRATT, P.A.        BRYAN CAVE LEIGHTON PAISNER, LLP
    131 Madeira Ave.                               1155 F Street NW, Ste. 700
    Coral Gables, FL 33134                         Washington, DC 20004
    (305) 444-0060                                 (202) 508-6200
    ira@kktplaw.com                                andrew.tauber@bclplaw.com
    kgregg@kktplaw.com                             sarah.hartley@bclplaw.com

    Sejal Zota                                     Geoffrey M. Pipoly*
    Daniel Werner*                                 Alexa Thein*
    Dinesh McCoy*                                  Madisen Hursey*
    JUST FUTURES LAW                               BRYAN CAVE LEIGHTON PAISNER, LLP
    1629 K Street NW, Suite 300                    161 N. Clark Street, Ste. 4300
    Washington, DC 20006                           Chicago, IL 60601
    (617) 812-2822                                  (312) 602-5000
    sejal@justfutureslaw.org                       geoff.pipoly@bclplaw.com
    dinesh@justfutureslaw.org                      alexa.thein@bclplaw.com
    daniel@justfutureslaw.org                      madisen.hursey@bclplaw.com

    Raymond Audain
    GISKAN SOLOTAROFF & ANDERSON LLP               *PHV application forthcoming
    90 Broad Street, 2nd Floor
    New York, NY 10004
    (212) 847-8315
    raudain@gslawny.com

                                  Attorneys for Plaintiffs




                                            17
